Case 8:11-cr-00345-VMC-AAS Document 525 Filed 07/22/15 Page 1 of 2 PageID 1446


                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 UNITED STATES OF AMERICA

 vs.                                         CASE NO: 8:11-cr-345-T-EAK-EAJ

 ENRIQUE HERNANDEZ RAMIREZ
 ______________________________/


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
               18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C.

 § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

 §1B1.10(d) (2014). Doc. 524. The United States does not oppose a reduction. Doc. 524. The

 parties stipulate that he is eligible for a reduction because Amendment 782 reduces the

 guideline range applicable to him, see USSG §1B1.10(a)(1). Doc. 524. The Court agrees that

 he is eligible for a reduction and adopts the amended guideline calculations in the parties’

 stipulation. Doc. 524.

        Having reviewed the facts in both the original presentence investigation report and the

 May 26, 2015 memorandum from the United States Probation Office in light of the factors

 in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger

 posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a

 reduction of 18 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of

 the practical difficulties of a possible release date on Sunday, November 1, 2015, the

 effective date of this order is November 2, 2015.

        Thus:

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Case 8:11-cr-00345-VMC-AAS Document 525 Filed 07/22/15 Page 2 of 2 PageID 1447


       1.     The Court grants the defendant’s motions, Docs. 524.

       2.     The Court reduces the defendant’s prison term from 87 to 69 months or

              time served, whichever is greater.

       3.     The effective date of this order is November 2, 2015.

       DONE and ORDERED in Chambers, Tampa, Florida on July 22, 2015.




       Copies to:

       Counsel of Record
       Magistrate Judge
       United States Marshals Service
       United States Probation Office
       United States Pretrial Services




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